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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

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                                                    :
                                                    :   Case No. 14-cv-9662 (JSR)
 IN RE PETROBRAS SECURITIES                         :
 LITIGATION                                         :   CLASS ACTION
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        NOTICE OF UNOPPOSED MOTION FOR PRELIMINARY APPROVAL
                     OF CLASS ACTION SETTLEMENT

       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in

Support of the Unopposed Motion for Preliminary Approval of Class Action Settlement, dated

February 1, 2018, the accompanying Declaration of Jeremy A. Lieberman, dated February 1,

2018, and the exhibits attached thereto, and all prior papers and proceedings herein, Lead

Plaintiff Universities Superannuation Scheme Ltd., acting as sole corporate trustee for

Universities Superannuation Scheme and named plaintiffs North Carolina Department of State

Treasurer and the Employees’ Retirement System of the State of Hawaii (collectively,

“Plaintiffs”), individually and on behalf of all others similarly situated, through their undersigned

attorneys, will move this Court, before the Honorable Jed S. Rakoff, on a date and at such time

as may be designated by the Court, at the Daniel Patrick Moynihan United States Courthouse,

500 Pearl Street, Courtroom 14B, New York, NY 10007, for an order: (1) preliminarily

approving the Settlement; (2) certifying the Settlement Class; (3) certifying Plaintiffs as Class

Representatives and Lead Counsel as Class Counsel; and (4) setting a date for a Settlement

Hearing and deadlines for the mailing and publication of the Notices, the filing of Settlement
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Class Member objections, the filing of Settlement Class Member opt-out notices, and the filing

of Lead Counsel’s application for attorneys’ fees and expenses and for an incentive award to

Plaintiffs.1



Dated: February 1, 2018                             Respectfully submitted,

                                                    POMERANTZ LLP

                                                    /s/ Jeremy A. Lieberman
                                                    Jeremy A. Lieberman
                                                    Marc I. Gross
                                                    Emma Gilmore
                                                    John A. Kehoe
                                                    Brenda Szydlo
                                                    600 Third Avenue
                                                    New York, NY 10016
                                                    Tel: (212) 661-1100
                                                    Fax: (212) 661-8665

                                                    Counsel for Class Representatives and the
                                                    Settlement Class




1
 All capitalized terms not defined herein have the meaning assigned to them in the Stipulation of
Settlement and Release, dated February 1, 2018, attached as Exhibit I to the Declaration of
Jeremy A. Lieberman, dated February 1, 2018.
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